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           EXHIBIT A
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     Bryan A. Lindsey, Esq.
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12   Las Vegas, Nevada 89119
     Telephone: (702) 385-5544
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14   Proposed Attorneys for the Debtors
15
                              UNITED STATES BANKRUPTCY COURT
16                                   DISTRICT OF NEVADA
17
     In re:                                              )   Case No.: 18-10792-LED
18                                                       )
19   Lucky Dragon Hotel & Casino, LLC,                   )   Chapter 11
                                                         )
20                                                       )
21                    Debtor.                            )   Hearing date:
     ______________________________________              )   Hearing time:
22

23
                     ORDER GRANTING DEBTOR’SMOTION FOR THE ENTRY
24              OF AN ORDER PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 1107(a) AND
25
               1108 AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO HONOR
              PREPETITION OBLIGATIONS AND MAINTAIN CUSTOMER PROGRAMS
26

27             Upon the motion (the “Motion”)1 of the above-captioned debtor and debtor-in-
28   possession, (collectively, the “Debtor”) for the entry of an order authorizing, but not directing
29
     the Debtor to honor certain prepetition obligations and maintain its Customer Programs
30

31
     1
32          Capitalized terms not otherwise defined herein shall have those meanings ascribed to
     them in the Motion.
                                                     1
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 1   pursuant to sections 105(a), 363(b), 1107(a) and 1108 of the United States Bankruptcy Code,
 2
     11 U.S.C. §§ 101, et seq. (as amended, the “Bankruptcy Code”); and the Court having
 3
     jurisdiction to consider the Motion and the relief requested therein in accordance with 28
 4

 5   U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested therein being
 6
     a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court
 7

 8
     pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

 9   provided, and it appearing that no other or further notice need be provided; and the Court
10
     having determined that the relief sought in the Motion is in the best interests of the Debtor, its
11

12   creditors and all parties in interest; and upon all of the proceedings had before the Court and
13
     after due deliberation and sufficient cause appearing therefore,
14
              IT IS HEREBY ORDERED that the Motion is GRANTED; and
15

16            IT IS FURTHER ORDERED that the Debtor is authorized, but not directed , in its
17
     business judgment to honor certain prepetition obligations and maintain its Customer Programs;
18

19   and
20            IT IS FURTHER ORDERED that the Debtor is authorized to take all actions
21
     necessary to effectuate the relief granted pursuant to this order in accordance with the Motion;
22

23   and
24
              IT IS FURTHER ORDERED that the terms and conditions of this order shall be
25

26
     immediately effective and enforceable upon its entry; and

27   ///
28
     ///
29

30   ///
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     ///
32



                                                      2
     4814-6414-9338, v. 1
             Case 18-10792-mkn       Doc 24-1     Entered 02/16/18 16:19:02   Page 4 of 5




 1            IT IS FURTHER ORDERED that this Court shall retain jurisdiction to hear and
 2
     determine all matters arising from the implementation of this Order.
 3
     Submitted by:
 4

 5   Schwartz Flansburg PLLC
 6
     By: /s/ Samuel A. Schwartz
 7   Samuel A. Schwartz, Esq., NBN 10985
 8
     Bryan A. Lindsey, Esq., NBN 10662
     Connor H. Shea, Esq., NBN 14616
 9   6623 Las Vegas Blvd. South, Suite 300
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     4814-6414-9338, v. 1
             Case 18-10792-mkn           Doc 24-1    Entered 02/16/18 16:19:02         Page 5 of 5




 1            SUBMISSION TO COUNSEL FOR APPROVAL PURSUANT TO LR 9021
 2
              In accordance with LR 9021, counsel submitting this document certifies that the order
 3
              accurately reflects the court’s ruling and that (check one):
 4

 5            _____ The court has waived the requirement set forth in LR 9021(b)(1).
 6
                    No party appeared at the hearing or filed an objection to the motion.
 7

 8
                       I have delivered a copy of this proposed order to all counsel who appeared at the

 9            hearing, and any unrepresented parties who appeared at the hearing, and each has
10
              approved or disapproved the order, or failed to respond, as indicated below [list each
11

12            party and whether the party has approved, disapproved, or failed to respond to the
13
              document]:
14
              _____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
15

16            order with the motion pursuant to LR 9014(g), and that no party has objected to the
17
              form or content of this order.
18

19            APPROVED:
20            DISAPPROVED:
21
              FAILED TO RESPOND:
22

23   Submitted by:
24
     Schwartz Flansburg PLLC
25

26
     By: /s/ Samuel A. Schwartz
     Samuel A. Schwartz, Esq., NBN 10985
27   6623 Las Vegas Blvd. South, Suite 300
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     Proposed Attorneys for the Debtor
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30
                                                     ###
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     4814-6414-9338, v. 1
